                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 ZURICH AMERICAN INSURANCE
 COMPANY,

                                 Plaintiff,               1:18-CV-932
             v.

 COVIL CORPORATION, et al.,

                              Defendants.


 ORDER GRANTING JOINT MOTION TO DISMISS WITHOUT PREJUDICE

      Before the Court is the March 13, 2020 Joint Motion to Dismiss Without Prejudice

submitted by Covil Corporation and TIG Insurance Company, as successor in interest to

Fairmont Specialty Insurance Company f/k/a Ranger Insurance Company. Upon

consideration thereof and for good cause shown,

      IT IS HEREBY ORDERED that the Joint Motion to Dismiss Without Prejudice

is GRANTED, and all claims between Covil and TIG Insurance Company, as successor

in interest to Fairmont Specialty Insurance Company f/k/a Ranger Insurance Company

(“TIG”) in this action are dismissed without prejudice.

      This the 16th day of March, 2020.



                                                _______________________________
                                                UNITED STATES DISTRICT JUDGE




     Case 1:18-cv-00932-CCE-LPA Document 265 Filed 03/16/20 Page 1 of 1
